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 7                                UNITED STATES DISTRICT COURT

 8                              WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 9

10
      CHERYL KATER, individually and on behalf             No. C15-612
11    of all others similarly situated,

12                           Plaintiff,                    COMPLAINT—CLASS ACTION
13
             v.
14
      CHURCHILL DOWNS INCORPORATED.,                       JURY DEMAND
15    a Kentucky corporation,
16
                             Defendant.
17

18          Plaintiff Cheryl Kater brings this case, individually and on behalf of all others similarly
19   situated, against Defendant Churchill Downs Incorporated (“Churchill Downs”) to enjoin its
20   operation of unlawful gambling devices. Plaintiff alleges as follows upon personal knowledge as
21   to herself and her own acts and experiences, and upon information and belief, including
22   investigation conducted by her attorneys, as to all other matters.
23                                        NATURE OF THE ACTION
24          1.       Defendant Churchill Downs owns and operates a leading video game
25   development company in the so-called “casual games” industry—that is, computer games
26   designed to appeal to a mass audience of casual gamers. Amongst the games Defendant owns
27
                                                                                 L AW O FFICES OF
     COMPLAINT—CLASS ACTION                                               C LIFFORD A. C ANTOR , P.C.
     No. C15-612
                                                     -1-                          627 208th Avenue SE
                                                                        Sammamish, Washington 98074‐7033
                                                                      Tel: (425) 868‐7813 • Fax: (425) 732‐3752
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 1   and operates is a popular virtual casino under the name “Big Fish Casino.”

 2          2.       In Big Fish Casino, Defendant offers a multitude of electronic versions of casino

 3   games, such as slot machines, roulette, and black jack to consumers. Big Fish Casino is available

 4   on Android and Apple iOS devices along with traditional computers.

 5          3.       Defendant provides a bundle of free “chips” to first-time visitors of its virtual

 6   casino that can be used to wager on its games. After consumers inevitably lose their initial

 7   allotment of chips, Churchill Downs attempts to sell them additional chips starting at $1.99 for

 8   20,000 chips.

 9          4.       Freshly topped off with additional chips, consumers wager to win more chips. The

10   chips won by consumers playing Defendant’s games of chance are identical to the chips that

11   Defendant sells. Thus, by wagering 20,000 chips that were purchased for $1.99, consumers have

12   the chance to win hundreds of thousands of additional chips that they would otherwise have to

13   purchase.

14          5.       Consumers that win big can also cash out by selling their chips to other casino

15   patrons. In fact, Defendant facilitates and profits from the process by which consumers cash out

16   by charging a fee, typically $1.99 for each chip transfer. With a reliable method to exchange

17   chips for cash facilitated by Defendant, it’s no surprise that secondary markets for chip transfers

18   have sprung up online as well.

19          6.       By operating its virtual casino, Defendant has violated Washington law, which

20   governs Plaintiff’s and the Class’s claims,1 and illegally profited from tens of thousands of

21   consumers. Accordingly, Plaintiff Cheryl Kater, on behalf of herself and a Class of similarly

22   situated individuals, brings this lawsuit to recover their losses, as well as costs and attorneys’

23

24   1
            Players visiting Defendant’s Big Fish Casino for the first time agree to Defendant’s “Big
25   Fish Terms of Use,” a true and accurate copy is attached hereto as Exhibit A. In those terms,
     players and Defendant agree, under the heading “Applicable Law and Jurisdiction,” that “[t]hese
26   Terms of Use are governed by and shall be construed in accordance with the laws of the State of
     Washington, USA, excluding its conflicts of law rules.”
27
                                                                                   L AW O FFICES OF
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 1   fees.

 2                                                 PARTIES

 3           7.       Plaintiff Cheryl Kater is a natural person and a citizen of the state of Michigan.

 4           8.       Defendant Churchill Downs Incorporated is a corporation incorporated under the

 5   laws of the state of Kentucky with a principal place of business at 333 Elliott Avenue West, Suite

 6   200, Seattle, Washington 98119. Defendant conducts business throughout this District,

 7   Washington state, and the United States.

 8                                     JURISDICTION AND VENUE

 9           9.       Federal subject-matter jurisdiction exists under 28 U.S.C. § 1332(d)(2) because

10   (a) at least one member of the class is a citizen of a state different from Defendant, (b) the

11   amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of the

12   exceptions under that subsection apply to this action.

13           10.      The Court has personal jurisdiction over Defendant because Defendant is licensed

14   to conduct business in this District, maintains its subsidiary’s headquarters and principal place of

15   business in this District, conducts significant business transactions in this District, and because

16   the wrongful conduct occurred in and emanated from this District.

17           11.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

18   part of the events giving rise to Plaintiff’s claims occurred in this District, Defendant’s

19   subsidiaries are licensed to conduct business in this District, and its subsidiary’s headquarters

20   and principal place of business are maintained in this District.

21                                      FACTUAL ALLEGATIONS

22   Free-to-Play and the New Era of Online Gambling

23           12.      The proliferation of internet-connected mobile devices has led to the growth of

24   so-called “free-to-play” videogames. With free-to-play games, developers encourage consumers

25   to download and play games for free while selling many low-cost items within the game itself.

26   Developers aim to recoup their costs (and make a profit) by selling thousands of “in-game” items

27   that start at $0.99 (purchases known as “micro-transactions”) instead of charging an up-front fee.
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 1          13.     The free-to-play model has become particularly attractive to developers of games

 2   of chance (e.g., poker, blackjack, and slot machine mobile videogames, amongst others), because

 3   it allows them to generate huge profits. In 2012, free-to-play games of chance generated over

 4   $1.6 billion in worldwide revenue, and they are expected to grow to more than $2.4 billion by the

 5   end of 2015.2 Even “large land-based casino operators are looking at this new space” for “a

 6   healthy growth potential.”3

 7          14.     With free-to-play games of chance, developers have begun exploiting the same

 8   psychological triggers as casino operators. As one respected videogame publication put it:

 9          “If you hand someone a closed box full of promised goodies, many will happily
10          pay you for the crowbar to crack it open. The tremendous power of small random
            packs of goodies has long been known to the creators of physical collectible card
11
            games and companies that made football stickers a decade ago. For some … the
12          allure of a closed box full of goodies is too powerful to resist. Whatever the worth
            of the randomised [sic] prizes inside, the offer of a free chest and the option to
13
            buy a key will make a small fortune out of these personalities. For those that like
14          to gamble, these crates often offer a small chance of an ultra-rare item.”4
15          15.     Another stated:

16          “Games may influence ‘feelings of pleasure and reward,’ but this is an addiction
17          to the games themselves; micro-transactions play to a different kind of addiction
            that has existed long before video games existed, more specifically, an addiction
18

19   2
            VentureBeat, Report confirms that social casino games have hit the jackpot with $1.6B in
20   revenue | GamesBeat | Games | by Dean Takahashi, http://venturebeat.com/2012/09/11/report-
     confirms-that-social-casino-games-have-hit-the-jackpot-with-1-6b-in-revenue/ (last visited Apr.
21   9, 2015).
     3
22           Id. Indeed, as explained more below, Defendant—the owner of five horse racing tracks,
     six casinos, myriad off-track betting facilities, and other gaming related businesses—purchased
23   Big Fish Games and the Big Fish Casino in November 2014 for approximately $885 million.
     Churchill Downs Incorporated To Acquire Big Fish Games | Churchill Downs Incorporated,
24
     http://www.churchilldownsincorporated.com/bigfishannouncement (last visited Apr. 9, 2015).
25   4
             PC Gamer, Microtransactions: the good, the bad and the ugly,
     http://www.pcgamer.com/microtransactions-the-good-the-bad-and-the-ugly/ (last visited Apr. 9,
26
     2015).
27
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 1          similar to that which you could develop in casinos and betting shops.”5
            16.     The comparison to casinos doesn’t end there. Just as with casino operators, free-
 2
     to-play developers rely on a small portion of their players to provide the majority of their profits.
 3
     These “whales,” as they’re known in casino parlance, account for just “0.15% of players” but
 4
     provide “over 50% of mobile game revenue.”6
 5
            17.     Game Informer, another respected videogame magazine, reported on the rise (and
 6
     danger of) of micro-transactions in free-to-play games and concluded:
 7

 8          “[M]any new mobile and social titles target small, susceptible populations for
            large percentages of their revenue. If ninety-five people all play a [free-to-play]
 9
            game without spending money, but five people each pour $100 or more in to
10          obtain virtual currency, the designer can break even. These five individuals are
            what the industry calls whales, and we tend not to be too concerned with how
11
            they’re being used in the equation. While the scale and potential financial ruin is
12          of a different magnitude, a similar profitability model governs casino gambling.”7
13          18.     Academics have also studied the socioeconomic effect free-to-play games have on

14   consumers. In one study, the authors compiled several sources analyzing free-to-play games of

15   chance (called “casino” games below) and stated that:

16          “[Researchers] found that [free-to-play] casino gamers share many similar
17          sociodemographic characteristics (e.g., employment, education, income) with
            online gamblers. Given these similarities, it is perhaps not surprising that a strong
18
            predictor of online gambling is engagement in [free-to-play] casino games.
19          Putting a dark line under these findings, over half (58.3%) of disordered gamblers
            who were seeking treatment stated that social casino games were their first
20
            experiences with gambling.”
21
     5
             The Badger, Are micro-transactions ruining video games? | The Badger,
22
     http://www.badgeronline.co.uk/micro-transactions-ruining-video-games/(last visited Apr. 9,
23   2015).
     6
            Id. (emphasis added).
24
     7
             Game Informer, How Microtransactions Are Bad For Gaming - Features -
25   www.GameInformer.com, http://www.gameinformer.com/b/features/archive/2012/09/12/how-
     microtransactions-are-bad-for-gaming.aspx?CommentPosted=true&PageIndex=3 (last visited
26
     Apr. 9, 2015).
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 1          …
 2
            “According to [another study], the purchase of virtual credits or virtual items
 3          makes the activity of [free-to-play] casino gaming more similar to gambling.
            Thus, micro-transactions may be a crucial predictor in the migration to online
 4
            gambling, as these players have now crossed a line by paying to engage in these
 5          activities. Although, [sic] only 1–5% of [free-to-play] casino gamers make micro-
 6          transactions, those who purchase virtual credits spend an average of $78. Despite
            the limited numbers of social casino gamers purchasing virtual credits, revenues
 7
            from micro-transactions account for 60 % of all [free-to-play] casino gaming
 8          revenue. Thus, a significant amount of revenue is based on players’ desire to
            purchase virtual credits above and beyond what is provided to the player in seed
 9
            credits.”8
10
            19.     The same authors looked at the link between playing free-to-play games of chance
11
     and gambling in casinos. They stated that “prior research indicated that winning large sums of
12
     virtual credits on social casino gaming sites was a key reason for [consumers’] migration to
13
     online gambling,” yet the largest predictor that a consumer will transition to online gambling was
14
     “micro-transaction engagement.” In fact, “the odds of migration to online gambling were
15
     approximately eight times greater among people who made micro-transactions on [free-to-play]
16
     casino games compared to [free-to-play] casino gamers who did not make micro-transactions.”9
17
            20.     The similarity between free-to-play games of chance and games of chance found
18
     in casinos has caused governments across the world to intervene to limit their availability.10
19

20   8
              Hyoun S. Kim, Michael J. A. Wohl, et al., Do Social Casino Gamers Migrate to Online
21   Gambling? An Assessment of Migration Rate and Potential Predictors, Journal of gambling
     studies / co-sponsored by the National Council on Problem Gambling and Institute for the Study
22   of Gambling and Commercial Gaming (Nov. 14, 2014), available at
     http://link.springer.com/content/pdf/10.1007%2Fs10899-014-9511-0.pdf (citations omitted).
23   9
            Id. (emphasis added).
24   10
            In late August 2014, South Korea began regulating “social gambling” games, including
25   games similar to Big Fish Casino, by “ban[ning] all financial transactions directed” to the games.
     PokerNews.com, Korea Shuts Down All Facebook Games In Attempt To Regulate Social
26   Gambling | PokerNews, http://www.pokernews.com/ news/2014/09/korea-shuts-down-facebook-
     games-19204.htm (last visited Apr. 9, 2015). Similarly, “ the Maltese Lotteries and Gambling
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 1   Unfortunately, such games have eluded regulation in the United States. As a result, and as

 2   described below, Defendant’s Big Fish Casino has thrived and thousands of consumers have

 3   spent millions of dollars unwittingly playing Defendant’s unlawful games of chance.

 4   A Brief Introduction to Defendant and its Big Fish Casino

 5          21.     Churchill Downs began in 1875 when it opened the famous horseracing track of

 6   the same name. Since then, Churchill Downs has amassed additional racetracks and begun

 7   expanding into casino gaming. In 2007, Churchill Downs created TwinSpires.com, a pari-mutuel

 8   betting website with revenues exceeding $180 million per year.

 9          22.     And in an effort to extend its online gaming presence, Churchill Downs acquired

10   Big Fish Games, “the world’s largest producer of casual games,” in 2014 for $885 million.11 For

11   the last twelve months, Defendant’s Big Fish subsidiary posted over $312 million in “annual

12   bookings,” with much of the “bookings” coming from “Big Fish Casino,” the “top revenue

13   producing social casino app on [Apple’s iOS devices] last year.”12

14          23.     In addition to Apple iOS devices, Big Fish Casino is available for consumers to

15   play through Facebook, web browsers, and on phones or tablets running the Android mobile

16   operating system. The casino is very popular—millions of people play at the casino every month.

17          24.     Churchill Downs stated in its recent SEC filings that “the Company acquired Big

18   Fish Games to leverage its casino and casual game experience.” Defendant describes the Big

19   Fish Casino games as being “free to download through PC and mobile devices. Game options

20   include casino-style games such as blackjack, poker, slots, craps, and roulette. There is

21   monetization through purchase of in-game virtual goods to enhance the game-playing

22

23   Authority (LGA) invited the national Parliament to regulate all digital games with prizes by the
     end of 2014.” Id.
24
     11
             Big Fish Games to be acquired for $885 million by racetrack operator Churchill Downs
25   – GeekWire, http://www.geekwire.com/2014/churchill-downs-acquires-big-fish/ (last visited
     Apr. 9, 2015).
26
     12
            Id.
27
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 1    experiencce.”

 2            25.     Sellin
                           ng “in-game virtual
                                       v       good
                                                  ds” (i.e., virtuual casino chhips) has beeen immenselly

 3    profitablee for Defend
                           dant. In 2014
                                       4, Defendantt recognizedd revenues off more than $$260 millionn

 4    from its Big      mes videogaames, likely generating m
               B Fish Gam                                  more than 500% of total rrevenue just by

 5    selling ch                         no.13 As exp
               hips in its Biig Fish Casin          plained furtheer below, hoowever, the rrevenue

 6    Defendan
             nt receives from
                         fr   its Big Fish
                                      F Casino games are thhe result of operating unnlawful gam
                                                                                              mes of

 7    chance caamouflaged as innocuou
                                    us videogames.

 8    III.   Defendant’s
             D           Virtual Cassino Contaiins Unlawfu
                                                         ul Games off Chance

 9            26.     Consu
                          umers visitin
                                      ng Defendan
                                                nt’s virtual caasino for thee first time arre awarded

100   100,000 free chips. Ostensibly,
                          O           Defendant
                                      D         giives away 1000,000 chipss to each connsumer to ennsure

11    that they “buy in” to Defendant’ss casino overr alternative s.

122           27.     After they begin playing,
                                       p        conssumers quickkly lose theiir initial allotment chips..

13    Immediaately thereaftter, Defendan
                                       nt informs th
                                                   hem via a “ppop up” screen that they have

144   “Insufficient Cash” to place a waager, which prevents
                                                   p        them
                                                               m from addiitional play. See Figure 1.

15

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200
21

222
                      (Figure 1.)
23
              28.     Concu
                          urrently with
                                      h that warnin
                                                  ng, Defendannt Churchill Downs provvides a link tto
244

25    13
               Nearly
               N       50% ofo Big Fish'ss revenue camme from mobbile in 2013 – GeekWiree,
266   http://wwww.geekwiree.com/2014/h    half-big-fish
                                                      hs-revenue-ccame-mobilee-2013-50-onne-year-prioor/
      (last visitted Apr. 9, 2015).
                             2
27
                                                                                      L AW O FFICES OFF
      COMPLAIINT—CLASS ACTION                                                C LI FFORD A. C ANTO
                                                                                                OR , P.C.

      No. C15-612
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 1    consumers, telling th         T CHIPS” at its electroniic store wherre the price ffor chips rannges
                          hem to “GET

 2    from pricces of $1.99 for 20,000 chips
                                       c     to $249
                                                   9.00 for 10,0000,000 chipps. See Figurre 2.

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166                   (Figure 2, showin
                                      ng Defendan
                                                nt’s chip pricces during a “3X Sale.”)

17            29.     The decision
                          d        to seell chips by the
                                                     t thousandds isn’t an acccident. Rathher, Defendaant

18    attempts to lower thee perceived cost
                                       c of the ch
                                                 hips (costingg just a fractiion of a pennny per chip)

199   while sim
              multaneously
                         y maximizing the value of
                                                o the awardd (awarding m
                                                                       millions of cchips in

200   jackpots)), further ind
                            ducing consu
                                       umers to bet on its gamess.

21            30.     To begin wagering, players seelect the “BE
                                                               ET/LINE” (ii.e., bet per pplayed line) tthat

222   will be used for a spiin, as illustraated in Figurre 3, which sshows one off Defendant’’s games.

23    Defendan
             nt allows plaayers to multtiply their beet by changinng the numbber of “lines”” (i.e.,

244   combinattions) on wh
                         hich the conssumer can win,
                                                w shown inn Figure 3 ass the “LINE”” button.

25

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                                                                                      L AW O FFICES OFF
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144                  (Figure 3.)

15           31.     The bet amount multiplied
                                    m          by
                                                y the numberr of lines com
                                                                         mprises the ““Total Bet”

166   shown in
             n the bottom left of Figurre 3. Thus, in
                                                    n the exampple shown in Figure 3, thhe player is

17    attemptin
              ng to bet “10
                          0,000” chips, or approxim
                                                  mately $1.000, for one sppin of the sloot machine.

18           32.     Once a consumer spins the slo
                                                 ot machine bby pressing a button (thee brown leveer

199   labeled “SPIN”
              “      circleed on the rig
                                       ght of Figuree 3), none off Defendant’s games alloow (or call foor)

200   any addittional user action. Insteaad, the consu
                                                     umer’s compputer or mobbile device coommunicatees

21    with and sends inform
                          mation (such
                                     h as the “Tottal Bet” amoount) to Defeendant’s servvers. Defenddant’s

222   servers th
               hen execute the game’s algorithms
                                      a          th
                                                  hat determinne the spin’s outcome. N
                                                                                     Notably, nonee of

23    Defendan
             nt’s games depend
                        d      on an
                                   ny amount off skill to det ermine theirr outcomes—
                                                                                    —all outcomees

244   are based
              d entirely on chance.

25           33.     Figuree 4 shows th
                                      he outcome of
                                                 o a 10,000-cchip bet wheere the playeer won 100,0000

266   chips. Ab
              bsent the win
                          n, the 100,00
                                      00 chips wou
                                                 uld have cosst the player approximateely $9.95 to buy.

27    Now, how
             wever, the newly
                        n     won ch
                                   hips providee the player w
                                                            with ten addditional free pplays at the
                                                                                     L AW O FFICES OFF
      COMPLAIINT—CLASS ACTION                                               C LI FFORD A. C ANTO
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 1    10,000-chip bet levell.

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13                              (Figure 4..)

144          34
              4.     Consu
                         umers can co
                                    ontinue playiing with the chips that thhey won, or they can exiit the

15    game and
             d return at a later time to
                                       o play because Defendannt maintains win and loss records and

166   account balances
              b        for each consum
                                     mer. Indeed,, once Defenndant’s algorrithms determ
                                                                                      mine the

17    outcome of a spin an
                         nd Defendantt displays thee outcome too the consum
                                                                          mer, Defendaant adjusts thhe

18    consumer’s account balance.
                         b        Deffendant keep
                                                ps records off each wagerr, outcome, w
                                                                                     win, and loss for

199           g Fish Casin
      every Big          no player and
                                     d allows the players to vview their tottal winnings or losses froom

200   Defendan
             nt’s casino. See
                          S Figure 5.
                                   5

21

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                                                                                   L AW O FFICES OFF
      COMPLAIINT—CLASS ACTION                                             C LI FFORD A. C ANTO
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122                  (Figure 5.)

13           35.     Consu
                         umers that win
                                    w can also cash
                                               c    out by sselling chipss on the secoondary markket.

144   For exam
             mple, a Big Fish
                         F Casino player
                                  p      listed millions of chips for salle on an onliine “black

15    market.”14 Once play
                         yers sell chip
                                      ps using the online
                                                   o      blackk market, theey follow Deefendant’s

166   instructio
               ons on how to
                          t transfer ch
                                      hips from on
                                                 ne player to aanother, as sshown in Figgure 6. In facct,

17    Defendan
             nt itself charrges (and pro
                                       ofits from) a transaction fee priced inn “gold” (whhich is availaable

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                                                                                          Apr. 9, 2015)).
      15
266          Earning
             E        and Using Gold | Big Fish Blog,
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                                                             www.bigfishgames.com//blog/earningg-
      and-using
              g-gold/ (last visited Apr. 9, 2015).
27
                                                                                     L AW O FFICES OFF
      COMPLAIINT—CLASS ACTION                                                C LI FFORD A. C ANTO
                                                                                                OR , P.C.

      No. C15-612
                                                      - 12 -                          627 208th Avenue SSE
                                                                           Samm  mamish, Washington 988074‐7033
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 1          36.     As such, Defendant undoubtedly is aware that its players regularly cash out their

 2   winnings—it facilitates the process itself. Unfortunately, if Defendant’s reported revenues are

 3   any indication, the number of losers vastly outnumbers the number of winners at Defendant’s

 4   unlawful Big Fish Casino. As such, Plaintiff Kater, on behalf of herself and a putative Class,

 5   seeks to recover Defendant’s ill-gotten losses.

 6   Plaintiff Kater’s Experience

 7          37.     In or around January 2013, Plaintiff Kater began playing Big Fish Casino through

 8   her Android device. After Plaintiff lost the balance of her initial allocation of free chips, Plaintiff

 9   Kater began purchasing chips from Defendant for use in the Big Fish Casino.

10          38.     Thereafter, Plaintiff Kater continued playing various slot machines and other

11   games of chance within Defendant’s casino where she would wager chips for the chance of

12   winning additional chips. From January 2013 to March 2015, Plaintiff Kater wagered and lost

13   (and Defendant Churchill Downs therefore won) over $1,000 at Defendant’s games of chance.

14                                        CLASS ALLEGATIONS

15          39.     Class Definition: Plaintiff Kater brings this action pursuant to Fed. R. Civ. P.

16   23(b)(2) and (b)(3) on behalf of herself and a Class of similarly situated individuals, defined as

17   follows:

18                  All persons in the United States who created Big Fish Casino accounts on

19                  or before March 23, 2015 and lost purchased chips by wagering at

20                  Defendant’s Big Fish Casino.

21   The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

22   this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

23   successors, predecessors, and any entity in which the Defendant or its parents have a controlling

24   interest and its current or former employees, officers and directors; (3) persons who properly

25   execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

26   matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel

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 1   and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

 2   excluded persons.

 3          40.     Numerosity: On information and belief, tens of thousands of consumers fall into

 4   the definition of the Class. Members of the Class can be identified through Defendant’s records,

 5   discovery, and other third-party sources.

 6          41.     Commonality and Predominance: There are many questions of law and fact

 7   common to Plaintiff’s and the Class’s claims, and those questions predominate over any

 8   questions that may affect individual members of the Class. Common questions for the Class

 9   include, but are not necessarily limited to the following:

10                  a.      Whether Defendant’s virtual casino games are “gambling devices” as

11                          defined by RCW § 9.46.0241;

12                  b.      Whether Plaintiff and each member of the Class lost money to Defendant

13                          by gambling as defined by RCW § 9.46.0237;

14                  c.      Whether Defendant violated the Washington Consumer Protection Act,

15                          RCW 19.86.010 et seq.; and

16                  d.      Whether Defendant has been unjustly enriched as a result of its conduct.

17          42.     Typicality: Plaintiff’s claims are typical of the claims of other members of the

18   Class in that Plaintiff’s and the members of the Class sustained damages arising out of

19   Defendant’s wrongful conduct.

20          43.     Adequate Representation: Plaintiff will fairly and adequately represent and

21   protect the interests of the Class and has retained counsel competent and experienced in complex

22   litigation and class actions. Plaintiff’s claims are representative of the claims of the other

23   members of the Class, as Plaintiff and each member of the Class lost money playing Defendant’s

24   games of chance. Plaintiff also has no interests antagonistic to those of the Class, and Defendant

25   has no defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously

26   prosecuting this action on behalf of the Class and have the financial resources to do so. Neither

27   Plaintiff nor her counsel have any interest adverse to the Class.
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 1          44.     Policies Generally Applicable to the Class: This class action is appropriate for

 2   certification because Defendant has acted or refused to act on grounds generally applicable to the

 3   Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

 4   standards of conduct toward the members of the Class and making final injunctive relief

 5   appropriate with respect to the Class as a whole. Defendant’s policies that Plaintiff challenges

 6   apply and affect members of the Class uniformly, and Plaintiff’s challenge of these policies

 7   hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or law

 8   applicable only to Plaintiff. The factual and legal bases of Defendant’s liability to Plaintiff and to

 9   the other members of the Class are the same.

10          45.     Superiority: This case is also appropriate for certification because class

11   proceedings are superior to all other available methods for the fair and efficient adjudication of

12   this controversy. The harm suffered by the individual members of the Class is likely to have been

13   relatively small compared to the burden and expense of prosecuting individual actions to redress

14   Defendant’s wrongful conduct. Absent a class action, it would be difficult if not impossible for

15   the individual members of the Class to obtain effective relief from Defendant. Even if members

16   of the Class themselves could sustain such individual litigation, it would not be preferable to a

17   class action because individual litigation would increase the delay and expense to all parties and

18   the Court and require duplicative consideration of the legal and factual issues presented. By

19   contrast, a class action presents far fewer management difficulties and provides the benefits of

20   single adjudication, economy of scale, and comprehensive supervision by a single Court.

21   Economies of time, effort, and expense will be fostered and uniformity of decisions will be

22   ensured.

23          46.     Plaintiff reserves the right to revise the foregoing “Class Allegations” and “Class

24   Definition” based on facts learned through additional investigation and in discovery.

25

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 1                                     FIRST CAUSE OF ACTION

 2                                     Violations of RCW § 4.24.070

 3                                 (on behalf of Plaintiff and the Class)

 4          47.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

 5          48.     Plaintiff, members of the Class, and Defendant are all “persons” as defined by

 6   RCW 9.46.0289.

 7          49.     The state of Washington’s “Recovery of money lost at gambling” statute, RCW

 8   4.24.070, provides that “all persons losing money or anything of value at or on any illegal

 9   gambling games shall have a cause of action to recover from the dealer or player winning, or

10   from the proprietor for whose benefit such game was played or dealt, or such money or things of

11   value won, the amount of the money or the value of the thing so lost.”

12          50.     “Gambling,” defined by RCW 9.46.0237, “means staking or risking something of

13   value upon the outcome of a contest of chance or a future contingent event not under the person's

14   control or influence.”

15          51.      “Gambling Devices” are defined by RCW 9.46.0241 as being “(1) Any device or

16   mechanism the operation of which a right to money, credits, deposits or other things of value

17   may be created, in return for a consideration, as the result of the operation of an element of

18   chance, including, but not limited to slot machines, video pull-tabs, video poker, and other

19   electronic games of chance . . . In the application of this definition, a pinball machine or similar

20   mechanical amusement device which confers only an immediate and unrecorded right of replay

21   on players thereof, which does not contain any mechanism which varies the chance of winning

22   free games or the number of free games which may be won or a mechanism or a chute for

23   dispensing coins or a facsimile thereof, and which prohibits multiple winnings depending upon

24   the number of coins inserted and requires the playing of five balls individually upon the insertion

25   of a nickel or dime, as the case may be, to complete any one operation thereof, shall not be

26   deemed a gambling device.”

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 1          52.     Defendant’s Big Fish Casino games are “Gambling Devices,” because they are

 2   devices where players provide consideration (e.g., purchase chips and wager the chips) and by an

 3   element of chance (e.g., by spinning a virtual slot machine or virtual roulette table) create a right

 4   to credits and/or other things of value (e.g., additional chips that would otherwise be purchased

 5   for cash, that can be sold for cash, and that award additional replays).

 6          53.     As such, Plaintiff and the Class gambled when they purchased chips to wager at

 7   Defendant’s gambling devices. Plaintiff and each member of the Class staked money, in the form

 8   of chips purchased with money, at Defendant’s games of chance (e.g., Defendant’s slot machines

 9   within Big Fish Casino) for the chance of winning additional things of value (e.g., chips that

10   grant additional free plays and that can be sold on the secondary market for cash).

11          54.     In addition, Defendant’s Big Fish Casino games are not “pinball machine[s] or

12   similar mechanical amusement device[s]” as contemplated by the statute because:

13                  a.      the games are electronic rather than mechanical;

14                  b.      the games confer replays but they are recorded and can be redeemed on

15                  separate occasions (i.e., they are not “immediate and unrecorded”); and

16                  c.      the games contain electronic mechanisms that vary the chance of winning

17                  free games or the number of free games which may be won (e.g., the games allow

18                  for different wager amounts and some allow for the player to win on multiple

19                  “lines”).

20          55.     RCW 9.46.0285 states that a “‘Thing of value,’ as used in this chapter, means any

21   money or property, any token, object or article exchangeable for money or property, or any form

22   of credit or promise, directly or indirectly, contemplating transfer of money or property or of any

23   interest therein, or involving extension of a service, entertainment or a privilege of playing at a

24   game or scheme without charge.”

25          56.     The “chips” Plaintiff and the Class had the chance of winning in Defendant’s Big

26   Fish Casino games are “things of value” under Washington law because they are credits that

27   involve the extension of entertainment and a privilege of playing a game without charge.
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 1   Moreover, the chips can be sold on the secondary market for cash and can be transferred to other

 2   Big Fish Casino players in exchange for cash.

 3          57.     Defendant’s Big Fish Casino games are “Contest[s] of chance,” as defined by

 4   RCW 9.46.0225, because they are “contest[s], game[s], gaming scheme[s], or gaming device[s]

 5   in which the outcome[s] depend[] in a material degree upon an element of chance,

 6   notwithstanding that skill of the contestants may also be a factor therein.” Defendant’s games

 7   within the Big Fish Casino are programmed to have outcomes that are determined entirely upon

 8   chance and a contestant’s skill does not affect the outcomes.

 9          58.     RCW 9.46.0201 defines “Amusement games” as games where “The outcome

10   depends in a material degree upon the skill of the contestant,” amongst other requirements.

11   Defendant’s Big Fish Casino games are not “Amusement games” because their outcomes are

12   dependent entirely upon chance and not upon the skill of the player and because the games are

13   contests of chance, as defined by RCW 9.46.0225.

14          59.     As a direct and proximate result of Defendant’s operation of its gambling devices,

15   Plaintiff Kater and each member of the Class have lost money wagering at Defendant’s games of

16   chance. Plaintiff Kater, on behalf of herself and the Class, seeks an order (1) requiring Defendant

17   to cease the operation of its gambling devices; and/or (2) awarding the recovery of all lost

18   monies, interest, and reasonable attorneys’ fees, expenses, and costs to the extent allowable.

19
                                     SECOND CAUSE OF ACTION
20
           Violations of the Washington Consumer Protection Act, RCW 19.86.010 et seq.
21
                                   (on behalf of Plaintiff and the Class)
22
            60.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
23
            61.     Washington’s Consumer Protection Act, RCW § 19.86.010 et seq. (“CPA”),
24
     protects both consumers and competitors by promoting fair competition in commercial markets
25
     for goods and services.
26

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 1           62.     To achieve that goal, the CPA prohibits any person from using “unfair methods of

 2   competition or unfair or deceptive acts or practices in the conduct of any trade or commerce . . .”

 3   RCW § 19.86.020.

 4           63.     The CPA states that “a claimant may establish that the act or practice is injurious

 5   to the public interest because it . . . violates a statute that contains a specific legislative

 6   declaration of public interest impact.”

 7           64.     Defendant violated RCW § 9.46.010, et seq., which declares that:

 8           “The public policy of the state of Washington on gambling is to keep the criminal
 9           element out of gambling and to promote the social welfare of the people by
             limiting the nature and scope of gambling activities and by strict regulation and
10
             control.
11
             It is hereby declared to be the policy of the legislature, recognizing the close
12
             relationship between professional gambling and organized crime, to restrain all
13           persons from seeking profit from professional gambling activities in this state; to
14           restrain all persons from patronizing such professional gambling activities; to
             safeguard the public against the evils induced by common gamblers and common
15           gambling houses engaged in professional gambling; and at the same time, both to
16           preserve the freedom of the press and to avoid restricting participation by
             individuals in activities and social pastimes, which activities and social pastimes
17
             are more for amusement rather than for profit, do not maliciously affect the
18           public, and do not breach the peace.”
19           65.     Defendant has violated RCW § 9.46.010 et seq. because its Big Fish Casino
20   games are unlawful “gambling devices” defined by RCW 9.46.0241. Defendant’s Big Fish
21   Casino games are gambling devices because they are devices where players provide
22   consideration (e.g., by purchasing chips and wagering the chips) and by an element of chance
23   (e.g., by spinning a virtual slot machine or virtual roulette table) create a right to credits and/or
24   other things of value (e.g., additional chips that would otherwise be purchased for cash, that can
25   be sold for cash, and that award additional replays).
26

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 1             66.   Defendant’s acts and practices constitute unfair methods of competition or are

 2   unfair or deceptive because (a) they offend public policy as it has been established by law; (b)

 3   are unethical, oppressive, or unscrupulous; and (c) cause substantial injury to consumers; and

 4   also (d) have the capacity to deceive a substantial portion of the public to whom they are directed

 5   and to whom Defendant holds itself out as operating legally and in accordance with applicable

 6   law.

 7             67.   Defendant’s wrongful conduct occurred in the conduct of trade or commerce—

 8   i.e., while Defendant was engaged in the operation of making computer games available to the

 9   public.

10             68.   Defendant’s acts and practices were and are injurious to the public interest

11   because Defendant, in the course of its business, continuously advertised to and solicited the

12   general public in Washington state and throughout the United States to play its unlawful Big Fish

13   Casino games of chance. This was part of a pattern or generalized course of conduct on the part

14   of Defendant, and many consumers have been adversely affected by Defendant’s conduct and the

15   public is at risk.

16             69.   Defendant has profited immensely from its operation of unlawful games of

17   chance, amassing hundreds of millions of dollars from the losers of its games of chance.

18             70.   Further, Defendant’s Big Fish Games subsidiary is headquartered in Washington;

19   Defendant’s strategies, decision-making, and commercial transactions for Big Fish Casino

20   originate in Washington; many of its key employees reside, work, and make company decisions

21   (including the decision to engage in the challenged conduct) in Washington; Defendant and

22   many of its employees are domiciled in Washington; and Plaintiff and each member of the Class

23   agreed to Defendant’s Terms of Use that specified that the “Applicable Law” is that “of the State

24   of Washington, USA.” The conduct that Plaintiff challenges directly or indirectly affects the

25   people of the State of Washington.

26

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 1             71.   As a result of Defendant’s conduct, Plaintiff and the Class members were injured

 2   in their business or property—i.e., economic injury—in that they lost money wagering on

 3   Defendant’s unlawful games of chance.

 4             72.   Defendant’s unfair or deceptive conduct proximately caused Plaintiff’s and the

 5   Class members’ injury because, but for the challenged conduct, Plaintiff and the Class members

 6   would not have lost money wagering at or on Defendant’s games of chance, and they did so as a

 7   direct, foreseeable, and planned consequence of that conduct.

 8             73.   Plaintiff, on her own behalf and on behalf of the Class, seeks to enjoin further

 9   violation and recover actual damages and treble damages, together with the costs of suit,

10   including reasonable attorneys’ fees.

11
                                       THIRD CAUSE OF ACTION
12
                                             Unjust Enrichment
13
                                    (on behalf of Plaintiff and the Class)
14
               74.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth
15
     herein.
16
               75.   Plaintiff and the Class have conferred a benefit upon Defendant in the form of the
17
     money Defendant received from them for the purchase of chips to wager at Defendant’s Big Fish
18
     Casino.
19
               76.   The purchase of the chips to wager at Defendant’s Big Fish Casino is and was
20
     beyond the scope of any contractual agreement between Defendant and Plaintiff and members of
21
     the Class. To wit, Defendant’s terms of service do not mention that the Big Fish Casino video
22
     game includes unlawful games of chance. Furthermore, the terms of service specifically prohibit
23
     the “discussions of any matters which are explicitly or by inference illegal in any way.”
24
               77.   Defendant appreciates and/or has knowledge of the benefits conferred upon it by
25
     Plaintiff and the Class.
26

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 1             78.      Under principles of equity and good conscience, Defendant should not be

 2   permitted to retain the money obtained from Plaintiff and the members of the Class, which

 3   Defendant has unjustly obtained as a result of its unlawful operation of slot machines and/or

 4   gambling devices. As it stands, Defendant has retained millions of dollars in profits generated

 5   from its unlawful games of chance and should not be permitted to retain those ill-gotten profits.

 6             79.      Accordingly, Plaintiff and the Class seek full disgorgement and restitution of any

 7   money Defendant has retained as a result of the unlawful and/or wrongful conduct alleged

 8   herein.

 9                                           PRAYER FOR RELIEF

10             Plaintiff Cheryl Kater, individually and on behalf of all others similarly situated,

11   respectfully requests that this Court enter an Order:

12             a)       Certifying this case as a class action on behalf of the Class defined above,

13   appointing Cheryl Kater as representative of the Class, and appointing her counsel as class

14   counsel;

15             b)       Declaring that Defendant’s conduct, as set out above, violates the CPA;

16             c)       Entering judgment against Defendant, in the amount of the losses suffered by

17   Plaintiff and each member of the Class;

18             d)       Enjoining Defendant from continuing the challenged conduct;

19             e)       Awarding damages to Plaintiff and the Class members in an amount to be

20   determined at trial, including trebling as appropriate;

21             f)       Awarding restitution to Plaintiff and Class members in an amount to be

22   determined at trial, and requiring disgorgement of all benefits that Defendant unjustly received;

23             g)       Awarding reasonable attorney’s fees and expenses;

24             h)       Awarding pre- and post-judgment interest, to the extent allowable;

25             i)       Entering judgment for injunctive and/or declaratory relief as necessary to protect

26   the interests of Plaintiff and the Class; and

27             j)       Awarding such other and further relief as equity and justice require.
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 1                                            JURY DEMAND

 2          Plaintiff requests a trial by jury of all claims that can be so tried.

 3                                                  Respectfully Submitted,
 4
     Dated: April 17, 2015                          s/ Cliff Cantor
 5                                                  By: Cliff Cantor, WSBA # 17893
                                                    LAW OFFICES OF CLIFFORD A. CANTOR, P.C.
 6                                                  627 208th Ave. SE
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 7
                                                    Tel: 425.868.7813
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 9
                                                    EDELSON PC
10                                                  Rafey S. Balabanian*
11                                                  Benjamin H. Richman*
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16                                                         amissaghi@edelson.com
                                                           cbooth@edelson.com
17
                                                    *Pro hac vice admission to be sought.
18

19                                                  Counsel for Plaintiff

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